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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-cv-00724-REB-MEH

   AMERICAN FAMILY MUTUAL INSURANCE COMPANY,

          Plaintiff,

   v.

   DENVER HASLAM,
   COMMERCIAL CAPITAL, INC.,
   MIKEL MEWBOURN,
   M&B DEVELOPMENT GROUP, INC.,
   FALL RIVER VILLAGE COMMUNITIES, LLC,
   ONEWEST BANK, FSB, and
   DEUTSCHE BANK NATIONAL TRUST COMPANY,

          Defendants.


                                          MINUTE ORDER

   Entered by Michael E. Hegarty, United States Magistrate Judge, on February 1, 2010.

          The Stipulated Motion for Protective Order [filed January 29, 2010; docket #124] is granted.
   The parties’ proposed Protective Order has been issued and is filed contemporaneously with this
   minute order.
